             Case 1:22-ap-01049-VK                   Doc 14 Filed 11/09/22 Entered 11/09/22 20:10:45                                     Desc
                                                      Main Document    Page 1 of 7



    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
    Email Address
    Law Offices Of Hagen & Hagen
    Jeffrey J Hagen - SBN 143754
    (818) 501-6161
    4559 San Blas Avenue
    Woodland Hills, California 91364
    Fax: (818) 907-6722
    jeff@hagenhagenlaw.com




         Individual appearing without attorney
         Attorney for Defendant Ari David Alexenburg

                                             UNITED STATES BANKRUPTCY COURT
                                       CENTRAL DISTRICT OF CALIFORNIA - Name of DIVISIONVALLEY DIVISION
                                                                        SAN FERNANDO

    In re:
                                                                                CASE NO.: 1:22-bk-10695-VK
Ari David Alexenburg,                                                           CHAPTER:
                                                                                ADVERSARY NO.: 1:22-ap-01049-VK
                                                                 Debtor(s).
Daphne Yadegar,


                                                                                NOTICE OF LODGMENT OF ORDER OR
                                                                Plaintiff(s),   JUDGMENT IN ADVERSARY PROCEEDING
                                      vs.                                       RE: (title of motion 1):

Ari David Alexenburg,


                                                               Defendant.




PLEASE TAKE NOTE that the order or judgment titled

was lodged on (date)         11/09/2022           and is attached. This order relates to the motion which is docket number                         .




1
    Please abbreviate if title cannot fit into text field.

              This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2012                                                            Page 1                 F 9021-1.2.ADV.NOTICE.LODGMENT
Lodged Order Upload (L.O.U)                                                  https://ecf-ciao.cacb.uscourts.gov/UploadOrders/Default.aspx?cmCook...
                 Case 1:22-ap-01049-VK                      Doc 14 Filed 11/09/22 Entered 11/09/22 20:10:45                Desc
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                                                    Adversary LODGED ORDER UPLOAD FORM

                                                                                                         Wednesday, November 09, 2022




          C O N F I R MAT I O N :

           Yo u r L o d g e d O r d e r I n f o :
          ( 11 2 5 8 7 9 0 . d o c )
             A new order has been added




                   O f f i c e : S a n F e r n a n d o Va l l e y
                   C a s e Ti t l e : Ya d e g a r v. A l e x e n b u r g
                   Case Number: 22-01049
                   Judge Initial: VK
                   C a s e Ty p e : a p ( A d v e r s a r y )
                   Document Number: 7
                   O n D a t e : 11 / 0 9 / 2 0 2 2 @ 0 7 : 5 5 P M


          T h a n k Yo u !


          United States Bankruptcy Court
          Central District of California
          Edwar d R. Roybal Feder al Building and Courthouse
          2 5 5 E a s t Te m p l e S t r e e t
          Los Angeles, CA 90012




1 of 1                                                                                                                         11/9/2022, 7:56 PM
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 4   jeff@hagenhagenlaw.com
     www.hagenhagenlaw.com
 5

 6   Attorney for Debtor/Defendant
 7

 8                       UNITED STATES BANKRUPTCY COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10                           SAN FERNANDO VALLEY DIVISION
11   In re:                          )          Case No. 1:22-bk-10695-VK
                                     )          Chapter 7
12
     Ari David Alexenburg,           )          Adv. No. 1:22-ap-01049-VK
13
                                     )
                       Debtor,       )          ORDER:
14                                   )
     _______________________________ )          1) GRANTING PLAINTIFF YADEGAR
15                                   )          LEAVE TO AMEND COMPLAINT TO
     Daphne Yadegar,
                                     )          DETERMINE DISCHARGEABILITY OF
16
                                     )          DEBT;
17                                   )
                       Plaintiff,    )          2) DISMISSING ADVERSARY
18                                   )          COMPLAINT IN THE EVENT
                                     )          PLAINTIFF YADEGAR DOES NOT FILE
19
     v.                              )          AN AMENDED COMPLAINT TO
20                                   )          DETERMINE DISCHARGEABILITY OF
                                     )          DEBT;
21                                   )
     Ari David Alexenburg,           )          3) CONTINUING STATUS CONFERENCE
22
                                     )          FROM 11/16/2022 TO 01/11/2023
23                                   )
                       Defendant.    )          Date: 11/09/2022
24                                   )          Time: 02:00pm
                                     )          Courtroom: 301
25
     _______________________________ )
26
          The Motion by Defendant Ari David Alexenburg For Order
27
     Dismissing Complaint By Plaintiff Daphne Yadegar, Without Leave
28
     To Amend, For Failure To State A Claim For Relief Pursuant To

                                            1
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 1   Federal Rule Of Bankruptcy Procedure 7012(b)(6), Docket Number
 2   7, filed 10/03/2022, came on regularly for hearing on Wednesday
 3   11/09/2022 at 0200pm.      Appearing by Zoom.gov on behalf of
 4   Plaintiff Yadegar was Terrence Swinson of Law Offices Of Eric
 5   Bryan Seuthe & Associates.       Appearing by Zoom.gov on behalf of
 6   moving party Defendant Alexenburg was Jeffrey Hagen of Law
 7   Offices Of Hagen & Hagen.
 8        Based upon Defendant Alexenburg’s Notice Of Motion And
 9
     Motion, the Memorandum Of Points And Authorities attached
10
     thereto, the Declaration Of Defendant Alexenburg attached
11
     thereto, the pleadings and documents on file herein including
12

13   the tentative ruling which the Court has made a part of the

14   record by adding it to the docket as Docket Number 15, and other
15
     good cause appearing, it is hereby
16
          ORDERED that should Plaintiff Yadegar elect to do so, she
17
     may file an amended Complaint against Defendant Alexenburg To
18

19   Determine Dischargeability Of Debt Pursuant To 11 U.S.C. Section

20   523(a)(6) by no later than 11/24/2022.         It is further
21
          ORDERED that should Plaintiff not file an amended Complaint
22
     against Defendant Alexenburg To Determine Dischargeability Of
23
     Debt Pursuant To 11 U.S.C. Section 523(a)(6) by 11/24/2022, this
24

25
     adversary proceeding shall be dismissed by the Clerk without

26   further motion.    It is further
27        ORDERED that should Plaintiff Yadegar file an amended
28
     Complaint against Defendant Alexenburg To Determine

                                           2
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 1   Dischargeability Of Debt Pursuant To 11 U.S.C. Section 523(a)(6)
 2
     by 11/24/2022, Defendant Alexenburg shall have thirty calendar
 3
     days within which to file a responsive pleading, whether it be
 4
     another Motion For Order Dismissing Complaint For Failure To
 5

 6   State A Claim For Relief Pursuant To Federal Rule Of Bankruptcy

 7   Procedure 7012(b)(6), an Answer, or otherwise.           It is further
 8
          ORDERED that the Status Conference currently scheduled for
 9
     Wednesday 11/16/2022 at 0130pm is continued to Wednesday
10
     01/11/2023 at 0130pm.      If the adversary proceeding has not been
11

12   dismissed prior to the continued Status Conference, the parties

13   shall jointly prepare and file a joint Status Conference
14
     Statement no less than fourteen days prior to the Status
15
     Conference.
16

17

18

19
                                         ###
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                                           3
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                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 Law Offices Of Hagen & Hagen, 4559 San Blas Avenue, Woodland Hills, California 91364

A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER OR JUDGMENT IN
ADVERSARY PROCEEDING will be served or was served (a) on the judge in chambers in the form and manner required
by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
   11/09/2022       I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                         Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) _______________,11/09/2022       I served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                         Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                         Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

11/09/2022           Jeffrey J Hagen                                                        /s/ Jeffrey J Hagen
Date                       Printed Name                                                      Signature




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             SECTION I - TO BE SERVED BY THE COURT VIA NEF

Chapter 7 Trustee:

Amy L Goldman (TR)      marisol.jaramillo@lewisbrisbois.com
                        AGoldman@iq7technology.com;
                        ecf.alert+Goldman@titlexi.com
United States Trustee:

United States Trustee (SV)       ustpregion16.wh.ecf@usdoj.gov
Requests For Special Notice:

None
Requests For Courtesy Notification Of Electronic Filing:

Terrence Swinson     terrenceswinson@gmail.com
   SECTION II - SERVED BY UNITED STATES MAIL OR OVERNIGHT MAIL

Defendant:

Mr. Ari David Alexenburg
8114 Kentland Avenue
West Hills, California 91304
